Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.914 Filed 02/14/22 Page 1 of 17

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA, )
Plaintiff,
) NO. 21-CR-00040-RJJ
vs. )
) DEFENDANT DEJAGER’S
DANIEL REYNOLD DEJAGER, ) SENTENCING
a/k/a Daniel Reynold, aka Daniel Miester, ) MEMORANDUM AND BRIEF
a/k/a Danichi, ) IN SUPPORT OF MOTION
) FOR DOWNWARD
Defendant. ) VARIANCE
)
)

 

INTRODUCTION

On October 7, 2021, Mr. DeJager entered guilty pleas to Count I,
Conspiracy to Operate an Unlicensed Money Transmitting Business in violation
of 18 USC § 371 and 1960 and Count 4, Money Laundering in violation of 18
USC § 1956(a)(1)(A)(i), (B)(i). Mr. DeJager stipulated to the facts set forth in the
plea agreement as the basis for his guilty plea, and he acknowledges his
misconduct. Mr. DeJager also submitted a letter to Probation Officer Gonzales
providing his background and how he became involved in The Geek Group. See
Exhibit A. Having fully accepted responsibility for his conduct in this case, Mr.

DeJager humbly appears before this Court for sentencing.
Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.915 Filed 02/14/22 Page 2 of 17

BACKGROUND INFORMATION

Unlike many individuals who might appear before this Honorable Court for
sentencing, Mr. DeJager’s upbringing was stable. He grew up in a Christian
home, his parents are married and he has six siblings. In his letter to the Court,
he chronicles his upbringing, including the stress within his family, how he
perceived others viewed him, and his concerns that he really didn’t fit in, based
upon his belief of others’ expectation.

Because of Mr. DeJager’s conviction, he is currently unemployed. He is
single, with hopes of one day marrying and raising a family. As repeatedly
referenced in the letters submitted on his behalf, Mr. DeJager is viewed by his
friends and family as a wonderful individual who they cannot believe could be
involved in criminal misconduct, but also readily recognize that his somewhat
sheltered upbringing, and need to be accepted, likely fueled his desire to be part
of The Geek Group, even after it operated outside the law.

To Mr. DeJager’s credit, he acknowledges that the allure of belonging to
this organization clearly clouded his judgment. From Mr. DeJager’s involvement
with The Geek Group until today, Mr. DeJager has matured, both spiritually and
emotionally. What is also clear is that today’s Daniel DeJager is not the same
Daniel DeJager previously involved with The Geek Group.

As this Court knows from Mr. DeJager’s case and his co-defendants, he
became involved with Bitcoin through his involvement with The Geek Group.
The monetary benefits of Bitcoin was a means to keep The Geek Group

operational. Unfortunately, Mr. DeJager, and the other co-defendants, allowed
Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.916 Filed 02/14/22 Page 3 of 17

the ends of supporting The Geek Group to justify the means, downplaying, if not
simply ignoring, their conduct. Clearly, in retrospect, Mr. DeJager acknowledges
that what he did was unlawful.

As the Court can also see from the many letters written on Mr. DeJager’s
behalf, most focus on Mr. DeJager as an individual ready to help anyone who
asks, and continuing to help those who don't ask.

Respectfully, Mr. DeJager stands before you as a more humble person
than at any time in his life. He understands that he faces legal consequences for
his actions, and will accept what the Court imposes. He is optimistic the Court,
upon reviewing the Presentence Report, will concur with Ms. Gonzales’
assessment that probation is the appropriate sanction, but also understands that
his sentence range allows for the possibility that Mr. DeJager may be sentenced

to prison. He fully understands that he created the situation he currently faces.

SENTENCING RECOMMENDATION BY DEFENDANT

Mr. DeJager urges that the sentencing framework is succinctly set forth as
follows: “While the Court is required to consider the range of penalties
suggested by the Sentencing Guidelines when determining the appropriate
sentence in a given case, the Court is not bound by that range. Indeed, the
Supreme Court has repeatedly reminded sentencing courts that, ‘The Guidelines
are not only not mandatory on sentencing courts; they are also not to be
presumed reasonable.’ Nelson v. United States, 129 S.Ct. 890, 892
(2009)(underlined emphases in original); see also Rita v. United States 127 S.Ct.
2456, 2465 (2007) (instructing that the only ‘presumption of reasonableness’ that
applies to a Guidelines sentence is “an appellate court presumption,’ not

applicable in the initial sentencing analysis conducted by the District Court). In
Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.917 Filed 02/14/22 Page 4 of 17

fact, the sentencing court has “the legal authority not to apply the Guidelines at

all (for they are advisory).” Dorsey v. United States, Corey A. Hill, 132 S.Ct.
2321, 2330 (2012).

While this Court must consider the recommendations of the advisory
Guidelines, the Court may not presume that those recommendations are
reasonable. Instead, the Court must treat the recommended Guidelines

sentence as only one among numerous factors.

Sentencing courts are free to disagree with the Guidelines’ recommended
sentence in any particular case, and may impose a different sentence based ona
contrary view of what is appropriate under § 3553(a). This includes the freedom
to disagree with “policy decisions” of congress of the Sentencing Commission
that are contained in the Guidelines. See Pepper v. United States, 131 S.Ct.
1229, 1241 (2011) (“post-Booker decision make clear that a district court may
tailor a non-Guidelines sentence in light of other statutory considerations’);
Spears v. United States, 129 S.Ct. 840, 843 (2009) (confirming Kimbrough’s
holding that courts may vary from particular guideline because of a policy
disagreement with that guideline) (per curiam).”

With the above framework in mind, Mr. DeJager urges this Court to
sentence him to a two-year term of probation, as recommended by Ms.
Gonzales. Such sentence satisfies the 18 USC § 3553 factors, is appropriate for
Mr. DeJager in this case, and considers his position in life both before and after

he was convicted of these criminal offenses.
Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.918 Filed 02/14/22 Page 5 of 17

I. THE COURT SHOULD SENTENCE MR. DEJAGER TO A TERM
OF PROBATION FOR HIS OFFENSE.

Although Mr. DeJager was clearly involved in illegal conduct, unlike most
criminal defendants, his goal was to belong to an organization as a valued
member to do good - further The Geek Group’s mission of providing assistance
to others. Unfortunately, although The Geek Group's goals didn’t change, the
manner in which to fund those goals resulted in the criminal misconduct that
occurred. As a result of Mr. DeJager’s actions, he is now a convicted felon,
which, in his line of employment, imposes a very serious impediment to future
employment. But the positive result from this situation is that he now reorganizes
and accepts that he doesn’t need to belong to a “group” to be considered a
valued individual.

As this Court is aware, the statutory factors are set forth within 18 U.S.C. §
3553(a):

(a) Factors To Be Considered in Imposing a Sentence.

The court shall impose a sentence sufficient, but not greater
than necessary, to comply with the purposes set forth in
paragraph (2) of this subsection. The court, in determining the
particular sentence to be imposed, shall consider

(1) the nature and circumstances of the offense and the history
and characteristics of the defendant;

(2) the need for the sentence imposed
(A) to reflect the seriousness of the offense, to promote
respect for the law, and to provide just punishment for the
offense;
(B) to afford adequate deterrence to criminal conduct;

(C) to protect the public from further crimes of the defendant;
and
Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.919 Filed 02/14/22 Page 6 of 17

(D) to provide the defendant with needed educational or
vocational training, medical care, or other correctional
treatment in the most effective manner;

(3) the kinds of sentences available;

(6) the need to avoid unwarranted sentence disparities among
defendants with similar records who have been found guilty of
similar conduct; and

(7) the need to provide restitution to any victims of the offense.

Mr. DeJager agrees with the Guideline calculations set forth in the
presentence report. As such, given his offender score of | and offense level of
31, his standard range sentence is 108 to 135 months within the Bureau of
Prisons.

Probation is recommending two years probation, which, respectfully, the
defense supports. Such sentence appropriately considers the 18 USC § 3553
factors outlined above. The Government’s recommendation for a custodial
sentence, although understandable, is greater than necessary to satisfy the §
3553 factors. Respectfully, and as set forth below, a sentence of probation is the

appropriate sentence for Mr. DeJager.

A. The Nature & Circumstances of the Offense and the History and
Characteristics of the Defendant.

The letters accompanying this memorandum set forth Mr. DeJager’s
character. He is viewed as a wonderful son, brother, relative, employee, and
friend. Throughout his life, even when shrouded in self-doubt, he has always
been an individual who could be counted on to help others and not expect any
recognition.

Although a narrow view of Mr. DeJager is that he is simply a felon, the

defense suggests that his characteristics are best exemplified as set forth within
Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.920 Filed 02/14/22 Page 7 of 17

the letters accompanying this memorandum. Further, he has attempted to
explain the allure of The Geek Group and how he became involved with the
organization. In many ways, this was the type of social interaction he longed for,
a social group where he felt welcomed, appreciated, and comfortable: to simply
be himself without any concerns of rejection. It was from this longing to belong to
@ group that appreciated him that led him to his current situation. Although
clearly not an excuse, Mr. DeJager’s explanation of his involvement assists in
determining the appropriate sentence.

B. The Seriousness of the Offense, the Need to Promote Respect
for the Law and the Need to Provide Just Punishment.

Clearly, the offenses Mr. DeJager entered guilty pleas to are serious, but
the offenses, alone, need to be understood through a review of the factual
background. The Geek Group was not established to become a criminal
organization. As Mr. DeJager summarized in his letter, he perceived the Bitcoin
phenomena as the wild west of financial markets where rules didn’t seem to
apply. With that mindset, that The Geek Group failed because of its improper
entrance into the Bitcoin market isn’t a surprise. But, as opposed to simply
acknowledging he committed a crime, he not only accepted responsibility for his
actions but also tried to explain how he came to be in his current position. He
does not blame his co-defendants for his predicament nor does he sugar coat his
conduct. He engaged in criminal activity, and the 2020 knock on the door by the
Federal Agents was his awakening. As might be noted from several letters, Mr.

DeJager’s pseudo arrogance has been replaced with humility. As this Court
Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.921 Filed 02/14/22 Page 8 of 17

likely knows, through humility comes wisdom and understanding. Mr. DeJager
has truly been humbled.

What constitutes “just” punishment must be individualized. Mr. DeJager
has been a productive and useful member of society his entire life. Even when
he was astray, his Geek Group involvement did not interfere with his core beliefs
in his family, friends, and church. That interaction has remained constant and
will continue to be a focus of his life. He has already been punished through the
shame involved with his behavior, his felony conviction, and loss of meaningful
employment. Mr. DeJager knows that his conduct was wrong, but just
punishment does not always require incarceration as requested by the
Government. “Just” punishment can be accomplished by two-years of probation
as such sentence provides respect for the law given Mr. DeJager’ offenses.

C. The Need to Afford Adequate Deterrence.

The sentence, as outlined above, provides adequate deterrence. No
incarceration is needed to further deter Mr. DeJager from future negative
behavior.

D. The Need to Protect the Public.

The public will be safe regardless of the sentence the Court imposes.
Given the impact this event has had on Mr. DeJager, including the loss of his
career, he will not reoffend.

E. The Need to Provide the Defendant with Education or
Vocational Training or Rehabilitation.

This factor does not apply to Mr. DeJager. He has received adequate

training over the years, which he will once again put to use once this matter is
Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.922 Filed 02/14/22 Page 9 of 17

behind him. He is a gifted software engineer, and will likely succeed in the

future.
F. The Need to Avoid Disproportionality Among Defendants with
Similar Records who have been Found Guilty of Similar
Conduct.

This Court has the benefit of previously sentencing one of Mr. DeJager’s
co-defendants, and will sentence the other two after Mr. DeJager. Despite the
Government's position, given Mr. DeJager’s position within The Geek Group, a
custodial sentence is not necessary. Rather, a sentence of probation is
reasonable and appropriate, and avoids disproportionality.

G. The Need to Make Restitution to Victims.

Mr. DeJager is not aware of any restitution request.
Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.923 Filed 02/14/22 Page 10 of 17

CONCLUSION

As this Court is fully aware, our Supreme Court allows this Court, like any
District Court, to fashion the appropriate sentence in any criminal case. This
Court has been appropriately advised of the guideline range, which is required,
but is free to impose the sentence this Court deems appropriate for Mr. DeJager.

Respectfully, the defense urges that upon this Court's consideration of the
§ 3553 factors, the sentence imposed on his co-defendant, probation’s
recommendation, and the numerous letters in support, a sentence of two years
probation is appropriate. Mr. DeJager has been cooperative throughout this
process, and no greater penal sanction is necessary.

RESPECTFULLY SUBMITTED this 14" day of February, 2022.

HESTER LAW GROUP, INC., P.S.
Attorney for Daniel DeJager

By: /s/ Brett A. Purtzer
Brett A. Purtzer
WSB #17283
1008 S. Yakima, #302
Tacoma, WA 98405
Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.924 Filed 02/14/22 Page 11 of 17

CERTIFICATE OF SERVICE

Lee Ann Mathews, hereby certifies under penalty of perjury under the laws
of the State of Washington, that on the date set forth below, | electronically filed
the foregoing with the Clerk of the Court using the CM/ECF system which will
send notification of such filing to the attorneys of record for the plaintiff and co-
defendants, if any, and hereby certify that | have mailed the document by U.S.

Postal Service to Daniel DeJager, defendant.

Signed at Tacoma, Washington this 14" day of February, 2022.

/s/ Lee Ann Mathews
Lee Ann Mathews
Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.925 Filed 02/14/22 Page 12 of 17

To the Honorable Robert J. Jonkers.

Greetings, Your Honor. | am Daniel Reynold DeJager, | hope you will allow me to tell you about this case from
my perspective.

| grew up in a large Christian family, and am the eldest of seven. My parents were your typical
stay-at-home-mom and working professional dad, who go to church on Sundays. Our religious convictions also
resulted in them deciding to homeschool us. This actually works well in large families as the elder siblings can
soon start helping to monitor, teach, raise, and support the younger siblings. This was especially important in
our family, as my youngest sister was born with a neurological disorder and has always needed extra help,
which we were all usually willing to provide. Mom is a well educated nursing school graduate; and between
comprehensive curriculum, co-ops with other homeschooling families, and her father helping with math
tutoring; she managed to homeschool all of us through junior high. For highschool we took advantage of our
state’s advanced placement program that allowed us to get highschool credit for college work. With the
exception of my disabled sister, we all got at least an associates degree with reasonable to good marks, and
Beth did graduate highschool, and now monitors and maintains stock rotation for a local drugstore.

Among the typical Christian values instilled in us, none were more important than trusting and following God.
Our family motto is Proverbs 3:5-6. “Trust in the Lord with all your heart and lean not on your own
understanding. In all your ways acknowledge Him and he will direct your paths.” Our faith is very important to
us, and we try to lead a life that reflects that, so it's no surprise that we were also raised knowing the
importance of honesty in word and deed, generosity, kindness, and service to others where possible.

Mom and Dad have always lived together, and still do, but we functionally grew up without a father.

| remember when we were younger that we would always eat dinner around the table, as a whole family, and
dinner would happen no sooner than Dad coming home. Dinner was usually a simple but filling meal around
which we would discuss the day. After dinner, Dad would read devotions and we'd pray. As time went on, he
started getting angrier and angrier, and would often lash out at his captive audience for his latest talk-radio or
news induced frustration.

Eventually Mom would leave the meal on the stove and we'd come help ourselves and go our ways. Dad also
stopped working on his model trains and just started playing his favorite computer games from the time he got
home until bedtime, and often all weekend too. About the only interaction we were left with was the two trips to
church on Sundays for morning service and evening service, or the after church Sunday drive we also slowly
took less and less frequently. But eventually those drives too became tainted as we were again a captive
audience for his latest irritation. Outside of being our family's financial support, and taking us to church on
Sunday, Dad felt his responsibilities stopped the moment he walked in the door.

So, Mom raised us. With the exception of some DIY skills that | learned from Dad on the few occasions Mom
convinced him to do something, | learned everything else from my Mom and Grandpa. Being the eldest, and
effectively having no father, | started filling the father role even as early as 10. As | grew older and more
capable, | assumed more and more responsibilities that would normally have fallen on Dad. Home
maintenance, vehicle maintenance, home remodeling, sibling supervision, correction, tutoring; you name it. If it
was something that needed doing, | probably did it. | even built walls upstairs—-complete with wiring, for more
bedrooms, and rebuilt the head on the family minivan. | think it's safe to say that | didn’t have a typical
childhood. | was forced to grow up too fast.

| wasn't completely devoid of a father figure. Grandpa was a regular presence in my life until he died in 2020,
and he was a great example of all the values I'd been raised with, and he was my childhood hero. He was
always working on something for someone, volunteering his time and skills, studying scripture, or praying for

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Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.926 Filed 02/14/22 Page 13 of 17

his family and community. Even in his last years he was always working engineering problems for friends and
praying for his family.

| grew up in the shadow of Grandpa, who was a brilliant mechanical engineer, and my equally brilliant electrical
engineer uncle and it was assumed that | was of course going to become a mechanical or electrical engineer
like my dad, uncle, aunts, and grandfather were. | don’t really know how much pressure that put on me, but it
wasn't insignificant. | always felt like | was merely being tolerated or patronized because | was family. This was
further reinforced because the only times | ever spent time with my extended family was either during the
holidays when everyone was of course going to be there, or they needed my help with something. It was made
worse when | was fired from a job that my uncle arranged for me at a friend's machine shop. | felt so guilty and
ashamed about it. | don't think | spoke to my uncle for a month.

I've always been gifted with an ability to wrap my head around new concepts quickly, and pick up new skills
inatelly. This gift was well accepted and encouraged by my family. Most Christmases and birthdays | would
receive something to tear apart and learn from. And even in the interim, broken toys and appliances were
always saved for me to scavenge parts from. As | got older, | stopped merely disassembling things to see how
they work, and started being able to repair some of them too. Even now, If I'm bored I'll stop in a second hand
shop, and browse for an interesting device to take home and explore.

Because of my interests, | started taking over many DIY tasks and maintenance at home, at church, for friends,
family, and neighbors. It’s incalculable how many hours I've spent, and continue to spend, supporting my
church through running, maintaining and upgrading their technology. | really enjoy making life better for people,
and if it gives me an excuse to play with some new technology, so much the better-I am an unabashed
technophile. This intuitive familiarity with technology is also matched with an ability to communicate ideas in
forms that lay people can understand. This combo has served me well through college and university as |
helped other students with their various technological problems, or various homework problems. Even at work,
I've created and presented several training materials, and received numerous commendations on my ability to
convey the material in a clear and concise manner. | always start with the assumption that no one can know
everything, and that learning can and should be fun. As long as people are willing and want to learn, | am
happy to take whatever steps are necessary to help with understanding.

As | was making choices about my future schooling | eventually came to the choice of this new program
“Computer Science and Engineering” This decision teft me feeling sheepish as | imagined the disappointment
of my family for not following in my relatives footsteps, but my grades weren't that great, and it was cheaper as
| could live at home. As a final act of my degree | needed an internship, and my uncle connected me with a
work friend. It would be an unfortunate and terrible experience. Despite meeting requirements and graduating,
| was a wreck afterwards; | felt like a failure, and that I'd let down my uncle. Again.

| graduated at the height of the ‘09 recession, so | couldn't find any work. | tried to get into a masters program
but my GRE scores were not high enough. Another failure. A buddy and | tried to start our own business as
mobile computer tech support, but discovered we were lousy businessmen. Still more failures. How can |
compare to my relatives?

| keep serving, because that's what | do, and | don’t know what else to do. | enjoy helping people, but | also
feel unnoticed, taken for granted, used. | am lonely. Outside of my family | have exactly 1 friend, but lots of
acquaintances. | help, because it’s what | do, but also, | help because | hope someday to be noticed and
respected by the people | respect and admire. Maybe one day I'll get a patent, or my masters degree. Maybe
someday I'll build the next mousetrap. Until then, | continue helping because it's what | know. Some people
, mirror their parents when they grow up. | desperately do not want to turn into my dad. | try not to be critical, |
try to assume the best in people, | try to share words of affirmation whenever possible. | am not my dad. But
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Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.927 Filed 02/14/22 Page 14 of 17

none of my role models were particularly adept at showing love outside of service, so how was | to know or
learn? So | help, because it’s what I know.

Then in 2012 | learned about The Geek Group (TGG). It seemed like a match made in heaven. A non-profit
company whose ethos was to match people who wanted to learn with people who knew, as well as could
provide facilities and resources to maximize the results. | loved it! | could share my knowledge, solve many
new problems and make the world a better place. | was making a lot of friends, and | even eventually
befriended the founder, Chris Boden. He came to rely on my skills in running and developing his company, and
| idolized him in return. | was valued for my knowledge, trustworthiness, and loyalty ( and pocketbook, if we're
being brutally honest). | idolized Chris because he was doing so many things | wished | could do, as well as
building a place that if successful, ! could build my dream job. Helping people, advising people, working on
cool, ever changing projects, playing with cool technology, surrounded by people who seem to legitimately
enjoy me and want to be around me. What more could | ask for?

Several people warned me about him, but | ignored them thinking they were just seeing the boisterous exterior
and the overinflated negative press he had from some very vocal detractors. | thought he was great fun, and
couldn't see the detractors as more than overreactions to some hurt feelings. After all, TGG was “a social
group of social misfits” to use Chris’s words--of course there would be some ruffled feathers. Chris thought |
was a “turbo smart nerd” and a “rockstar”. | was a trusted advisor.

Over the years | donated over $50,000 in funds and material to his company trying to solve problems and help
it succeed. | wrote several scripts for his demos and videos; and flew out numerous times to help with projects
in person. These visits were especially enjoyable as | got a chance to meet many friends that | normally only
interacted with online.

When Bitcoin was making headlines in 2017, Chris came to me and asked about Bitcoin. We came up with a
plan that fit well with the company ethos and could eventually solve the company's continuous money troubles.
We'd sell Bitcoin. The principles behind Bitcoin--and cryptocurrencies in general—really appealed to Chris's
anarchy streak, and mine too, frankly. The possibility of making a lot of money while deposing government
controlled currency with one that was anonymous and decentralized, while teaching others about this new
technology, all the while supporting his life dream company was too enticing to ignore.

Chris would teach people about Bitcoin, sell it to them at rates less than much of the market, using the profits
to pay bills accrued by TGG, or reinvesting in our operation. | would be responsible for converting the US
dollars from the sales back into Bitcoin, for my own small percentage of it. Not that | was in it for the money. |
had a great job that paid well enough that | was usually able to buy whatever | wanted, whenever | wanted; so |
just reinvested my profits back into our operation.

One of the first things we learned is that the exchange we were using (Coinbase) was allegedly being forced to
watch Bitcoin transactions for 5 transactional hops and that if some of the Bitcoin we sold was used at the
wrong place we could get our account terminated. This seemed wrong to us, and not wanting to have our
accounts shuttered for the actions of someone 5 steps removed from us, | started “mixing” all the bitcoin |
bought prior to Chris selling it. This was also supported by the crypto community in general for maximizing the
anonymity of bitcoin. | did look around and couldn't find anything more than unsubstantiated rumors that there
were any problems at all with this. This conclusion was reinforced because the IRS declared Bitcoin was
property and was being taxed as such. This was the wild west and lawmakers were filing law changes left and
right, so it was anyone’s guess what the rules were today, let alone tomorrow. We figured it would be easier to
ask forgiveness than to seek permission; and assumed that if we were indeed in the wrong somehow; that in
the worst case we would get a nasty letter or unpleasant visit from an official, a cease-and-desist, and a fine.
Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.928 Filed 02/14/22 Page 15 of 17

We were playing with money and | suspected we'd need some legal paperwork to get bigger, so | asked Chris
to talk with the company lawyer and get some input. Chris told me that we wouldn't need any as long as
transactions were less than $1000. Anything larger would have to be a personal transaction with him “and we'd
have to make sure they aren’t a fed” That should have been a flag for me, especially because how would he
know? But along with so many others, | justified it and rationalized it away, figuring that | was doing my best to
follow the rules, what Chris did was his problem.

Chris would host semi-weekly classes on crypto, what it was, how to use it, how to safely store it, how to get it,
etc. The front desk would sell to random people off the street, but serious investors would be handled by Chris
personally. In keeping with the supposed anonymous nature of crypto, few questions were asked. If you had
money, Chris was happy to sell.

There was one rule we were vaguely aware of: something to do with deposits in excess of $10,000. Chris
became adamant that we couldn’t deposit more than $5000/day, and he never did. That would prove limiting
and | passively was trying to find ways to be able to expand our limits, as | knew that $5000/day was
unsustainable, especially when Chris would sell well over $5,000 of bitcoin some days to his large investors. |
also knew that | didn't want to get in trouble with the IRS, so | did my best to file taxes that included my gains
and losses for all the bitcoin while it was in my possession.

I'd like to think that if I'd known the consequences could envelop me so easily I'd have done more or taken
other steps, but I also think that I'd fallen sufficiently under Chris's spell that | don’t know what | would have let
him convince me to do or ignore, especially if it was a logical, and semi reasonable progression of events.

in December of 2018 | heard about the federal raid on the TGG facilities. Chris remained silent about what had
happened, ostensibly on 5th amendment grounds. He did adamantly defend himself by saying that he hoped
that the investigation was thorough, because it would show that he’d done nothing wrong. | believed him, as up
to that point I'd not had any reason to doubt him. | did hear through the grapevine that it had something to do
with bitcoin. He and | remained friends, but without the common ground of The Geek Group to tie us together,
our friendship started faltering.

Then, in mid 2019, after losing TGG, family drama created another large loss. | soon realized | was dealing
with two great losses in one year and | was now struggling with depression; so | started seeing a therapist. She
was immensely helpful, helped me get started on some antidepressants, and ADHD meds, and helped me
realize that | had many more layered issues that we also addressed. With her help, | started enjoying my life,
and started accepting and reciprocating the friendship of many people who | formerly only thought of as
acquaintances.

Early 2020, | got a knock on my door. Two agents handed me a notice that | was being investigated, and they
wanted to have a chat. | politely informed them that | needed to speak with a lawyer first and they left. We
ended up doing a proffer with the agents. During the proffer, several things were brought up that made me start
questioning what | knew about Chris, and | started doubting my perception of Chris. Then finally, they showed
me a little black book that had names across the tops of the pages, and what appeared to be bitcoin wallet
word lists below. | recognized some of the names as some of the names Chris had dropped when we were
discussing his investors’ transactions. This stunned me and the penny finally dropped. There was no reason
why Chris should have those wordlists. This also flew in the face of everything that Chris had preached
regarding crypto security, etc. With them, he had unfettered, invisible, and untraceable access to ALL of his
client's crypto holdings. | no longer trusted Chris, and started questioning everything associated with Chris. The
more | was retrospective, the more red flags | realized I’d ignored, justified, or rationalized. My friends were
right about him, and 1 was becoming ashamed that I'd spent so much time with him, and realizing that he was
not someone | wanted to associate with, nor for him to be associated with me. | canceled my Patreon
Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.929 Filed 02/14/22 Page 16 of 17

subscription to him, unfriended and stopped following him on Facebook, and blocked him on reddit and twitter.
| was done with him.

But it was too little too late. After the grand jury handed down it’s indictment | realized | had my blinders on and
because I'd placed Chris on an unjustified pedestal | was blindly trusting him and bypassing my better
judgement. Things that would probably have at least raised an eyebrow were it under any other context, went
completely ignored. | would like to think that | would have said or done something if something “worse” came
up; but | came to the frightening and sobering realization that / have no idea what | would have let Chris
convince me to do.

| am using my experience as a very personal example why one should be careful about who you associate
with. It is said that “By your friends you will be known” and “Bad company corrupts good morals” How true that
is. | went from an esteemed Good Christian Boy with nothing more than a couple of old and minor traffic
infractions, to a multicount felon in the blink of an eye.

| regret my participation in these crimes. | would like to think the outcome would have been different if I'd better
known the rules; but | also readily concede that | left my good sense at the altar I'd made for Chris. Now that
the veil has been lifted, | have had much soul-searching, retrospection, discussion with advisors, friends and
family, and my therapist and have come to some conclusions that some may consider surprising. This
conviction and sentence will be a sobering monument and lifelong reminder of my foolishness; but I’m also
thankful for it. Through it, | have had my head cleared and any reasons and desire to associate with Chris have
evaporated. Because of it I've come closer to Christ. Because of it, I've had a chance to learn who my real
friends are and always have been; and all my friends and family have banded together and shown me just how
much | actually mean to them. It turns out that all the people | thought were tolerating me were just unsure of
how to show their love and respect, and my insecurities left me blind and suspicious.

It is trials like this that force a person to make an important choice. Turn to God, or curse Him. Through His
Grace, | chose to trust God for support and guidance and have grown closer to Him. His goodness has used
this case to rescue me from a very bad place and very bad company, and even helped me to see some more
idols | never even realized | had. Even if | get handed the worst sentence possible, it will be worth it. “What
good is it then to gain the whole world but to lose your soul?” | will continue forward trusting God that this was
all necessary for my sanctification. | am much more secure in who and what | am. | am finally learning to
believe people when they tell me, and show me that they love me. | am very secure and confident in my skills
and knowledge and no longer feel the need to prove myself, as I finally believe my friends and family when
they tell me | don’t need to, and | have seen the respect and admiration my colleagues have for me and my
work. | now see the love and respect | have from everyone | care about. | would be a fool to say that I’m now
immune to the ego stroking that got me here, but so many of the things that allowed it to be such a vulnerability
to me are significantly less of an issue now.

| am still looking to find someone | trust to mentor me, as | realize | have a very fragmented and distorted view
of what a Godly Christian man should look like and | want to be a better role model than what | had.

Your Honor,

I thank you for your time in reading this letter. | admit it is rather lengthy. | want to be respectful of your time and
| tried to only include that which | thought was necessary to help you understand who | am.

| recognize that ignorance, coercion, and misplaced trust are no excuses for breaking the law; clearly, | am
guilty of breaking the law. | have always tried to do my best to follow the laws of this land and | have always
been willing to accept full responsibility for my actions should | be found guilty of breaking any. | regret and am
Case 1:21-cr-00040-RJJ ECF No. 91, PagelD.930 Filed 02/14/22 Page 17 of 17

ashamed of my part in these crimes, and am even more ashamed of the lapses in judgment that brought me
here.

| humbly accept any consequences you may deem necessary. | only pray that through this letter and the others
sent by my friends and family, you can see where my heart was and now is and what | mean to so many
people and will have mercy on me in my sentence.

With all respect, and humbleness,

Daniel Reynold DeJager

) nl) SE Lee— [|-22-2022
